83 F.3d 414
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Earl BROWN, Petitioner-Appellant,v.George HAMPTON, Warden;  T. Travis Medlock, Attorney Generalof the State of South Carolina, Respondents-Appellees.
    No. 95-7042.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 15, 1996.Decided April 23, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.   David C. Norton, District Judge.  (CA-94-1113-18AJ)
      Robert Earl Brown, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.   Accordingly, we deny Appellant's motion for appointment of counsel, deny a certificate of probable cause to appeal, and dismiss the appeal on the reasoning of the district court.   Brown v. Hampton, No. CA-94-1113-18AJ (D.S.C. May 30, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    